             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                   CRIMINAL CASE NO. 3:04cr190-06


UNITED STATES OF AMERICA,       )
                                )
               Plaintiff,       )
                                )
          vs.                   )
                                )
CLARISSA WHITE,                 )
a/k/a CLARRISA TROUTMAN,        )
                                )
               Defendant,       )
                                )
and                             )
                                )
ACCEL MARKETING, LLC,           )
                                )
               Garnishee.       )
_______________________________ )

                WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:          Accel Marketing, LLC
                       110 Oakwood Drive
                       Winston-Salem, North Carolina 27103-1904
                       Attn: Payroll

     An Application for a Writ of Garnishment against the property of Clarissa

White, a/k/a Clarrisa Troutman, defendant/debtor, has been filed with this

Court. A judgment has been entered against the defendant/debtor. The




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current total amount of $307,785.83, computed through March 29, 2010, is

due and owing.

      You, as Garnishee, are required by law to answer in writing, under oath,

within ten (10) days of service of this W rit, whether or not you have in your

custody, control or possession, any property or funds owned by the

defendant/debtor, including non-exempt, disposable earnings.

      You    must    withhold   and    retain   any   property       in     which       the

defendant/debtor has a substantial non-exempt interest and for which you are

or may become indebted to the defendant/debtor pending further order of the

Court. This means that you should withhold 25% of the defendant/debtor's

earnings which remain after all deductions required by law have been withheld

and 100% of all 1099 payments. See 15 U.S.C. §1673(a).

      Please state whether or not you anticipate paying the defendant/debtor

any future payments and whether such payments are weekly, bi-weekly,

monthly, annually or bi-annually.

      You must file the original written Answer to this Writ within ten (10) days

of your receipt of this Writ with the following office:

                  Clerk of the United States District Court
                            401 West Trade Street
                             Charlotte, NC 28202



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      Additionally, you are required by law to serve a copy of the Answer upon

the defendant/debtor at his/her last known address:

                 Clarissa White, a/k/a Clarrisa Troutman

                            Kannapolis, NC 28081

      You are also required to serve a copy of the Answer upon the Plaintiff

at the following address:

         Jennifer A. Youngs, Assistant United States Attorney
                    United States Attorney's Office
                       Financial Litigation Unit
                   227 West Trade Street, Suite 1650
                         Charlotte, NC 28202

      Under the law, there is property which is exempt from this Writ of

Garnishment. Property which is exempt and which is not subject to this order

may be listed on the attached Claim for Exemption form.

      Pursuant to 15 U.S.C. §1674, you, the Garnishee, are prohibited from

discharging the defendant/debtor from employment by reason of the fact that

his earnings have been subject to garnishment for any one indebtedness.

      Pursuant to 28 U.S.C. §3205(c)(6), if you fail to answer this writ or

withhold property or funds in accordance with this Writ, the United States of

America may petition the Court for an order requiring you to appear before the

Court to answer the Writ and to withhold property before the appearance date.



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If you fail to appear or do appear and fail to show good cause why you failed

to comply with this Writ, the Court shall enter a judgment against you for the

value of the defendant/debtor's non-exempt interest in such property. The

Court may award a reasonable attorney's fee to the United States and against

you if the Writ is not answered within the time specified. It is unlawful to pay

or deliver to the defendant/debtor any item attached by this Writ.

                                       Signed: April 1, 2010




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                   CLAIM FOR EXEMPTION FORM

   MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. §3613)


_____     1.    Wearing apparel and school books. -- Such items of
                wearing apparel and such school brooks as are necessary
                for the debtor or for members of his family.

_____     2.    Fuel, provisions, furniture, and personal effects. -- So much
                of the fuel, provisions, furniture, and personal effects in the
                Debtor’s household, and of the arms for personal use,
                livestock, and poultry of the debtor, as does not exceed
                $6,250 in value.

_____     3.    Books and tools of a trade, business, or profession. -- So
                many of the books, and tools necessary for the trade,
                business, or profession of the debtor as do not exceed in
                the aggregate $3,125 in value.

_____     4.    Unemployment benefits. -- Any amount payable to an
                individual with respect to his unemployment (including any
                portion thereof payable with respect to dependents) under
                an unemployment compensation law of the United States,
                of any State, or of the District of Columbia or of the
                Commonwealth of Puerto Rico.

_____     5.    Undelivered mail. -- Mail, addressed to any person, which
                has not been delivered to the addressee.

_____     6.    Certain annuity and pension payments. -- Annuity or
                pension payments under the Railroad Retirement Act,
                benefits under the Railroad Unemployment Insurance Act,
                special pension payments received by a person whose
                name has been entered on the Army, Navy, Air Force, and
                Coast Guard Medal of Honor roll(38 U.S.C. 1562), and
                annuities based on retired or retainer pay under Chapter 73
                of Title 10 of United States Code.

_____     7.    W orkmen’s Compensation. -- Any amount payable with
                respect to compensation (including any portion thereof
                payable with respect to dependents) under a workmen’s
                compensation law of the United States, any State, the
                District of Columbia, or the Commonwealth of Puerto Rico.


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_____     8.    Judgments for support of minor children. -- If the debtor is
                required by judgment of a court of competent jurisdiction,
                entered prior to the date of levy, to contribute to the support
                of his minor children, so much of his salary, wages, or other
                income as is necessary to comply with such judgment.

_____     9.    Certain service-connected disability payments. -- Any
                amount payable to an individual as a service-connected
                (within the meaning of section 101(16) of Title 38, United
                States Code) disability benefit under -- (A) subchapter II, III,
                IV, V, or VI of Chapter 11 of such Title 38 or (B) Chapter 13,
                21, 23, 31, 32, 34, 35, 37 or 39 of such Title 38.

____     10.   Assistance under Job Training Partnership Act.

         -- Any amount payable to a participant under the Job Training
         Partnership Act (29 U.S.C. 1501 et seq.) From funds appropriated
         pursuant to such Act.




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